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                          Exhibit 1
Case 8:22-cv-00410-CJC-KES Document 13-2 Filed 04/25/22 Page 2 of 2 Page ID #:278




                                                  December 17, 2021

   Via Federal Express
    The Container Store, Inc.
    500 Freeport Parkway
    Coppell, Texas 75019
    Attention Legal Department

            Re:      Website Accessibility Lawsuit

   To Whom It May Concern:

          This law firm has been retained by a blind consumer to file suit against you under the
   California Unruh Act.

           In short, your website (https://www.containerstore.com/) is not fully accessible to
   blind users. In lawsuits brought by this law firm, numerous California courts have ruled that
   disability access laws apply to commercial websites, including online-only businesses.1

          Because we plan to file suit in the near future, we urge you to consult counsel about
   your rights in this emerging area of law. Upon request, I will provide your counsel with a
   summary of the barriers documented on your website.

          To request same or otherwise discuss this matter before suit is filed, your counsel
   should promptly contact me at sferrell@pacifictrialattorneys.com.

                                                                    Sincerely,



                                                                    Scott J. Ferrell, Esq.
                                                                    A ‘Top 100’ Southern California Super Lawyer




   1
           See, e.g., Licea v. Kaspersky Labs, Case No. 20-ST-CV36486 (Los. Angeles Sup. Ct. March 4, 2021); and Martinez v.
   Epic Games, Inc., No. 19-ST-CV41717 (Los. Angeles Sup. Ct. Aug. 12, 2020).



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(949) 706-6464                                                                               P a c i f i c T r i a l A t t o r n ey s . c o m
